Case 1:25-cv-00339-JDB   Document 80-35   Filed 04/18/25   Page 1 of 3




                EXHIBIT 35
Case 1:25-cv-00339-JDB   Document 80-35   Filed 04/18/25   Page 2 of 3
               Case 1:25-cv-00339-JDB            Document 80-35         Filed 04/18/25       Page 3 of 3
10582            Federal Register / Vol. 90, No. 36 / Tuesday, February 25, 2025 / Presidential Documents

                                       Sec. 3. General Provisions. (a) Nothing in this order shall be construed
                                       to impair or otherwise affect:
                                         (i) the authority granted by law to an executive department or agency,
                                         or the head thereof; or
                                         (ii) the functions of the Director of the Office of Management and Budget
                                         relating to budgetary, administrative, or legislative proposals.
                                         (b) This order shall be implemented consistent with applicable law and
                                       subject to the availability of appropriations.
                                         (c) This order is not intended to, and does not, create any right or benefit,
                                       substantive or procedural, enforceable at law or in equity by any party
                                       against the United States, its departments, agencies, or entities, its officers,
                                       employees, or agents, or any other person.




                                       THE WHITE HOUSE,
                                       February 19, 2025.


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Filed 2–24–25; 8:45 am]
Billing code 3395–F4–P
